                    IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF PUERTO RICO

 IN RE:                                                CASE NO. 20-00633 EAG

 EFRAIN CARRERO VELEZ                                  CHAPTER 7

 DEBTOR


                   STIPULATION FOR TURNOVER OF FUNDS TO
                 CHAPTER 7 TRUSTEE, ROBERTO ROMÁN VALENTÍN

TO THE HONORABLE EDWARD A. GODOY
U.S. BANKRUPTCY COURT JUDGE:

       COMES NOW Chapter 7 Trustee, ROBERTO ROMÁN VALENTÍN (“Trustee”), and

Priority Creditor, KRIZIA MARIE PEREZ BARBER (“Creditor”), collectively the (“Parties”)

and through their respective undersigned counsel most respectfully state and pray as follows:

       1.      Debtor, Efraín Carrero Velez, (“Debtor”), filed a Chapter 13 petition for relief on

February 11, 2020. Case was converted to a Chapter 7 on February 10 2021. Trustee, Roberto

Román Valentín, (from hereon referred to as “Trustee”) was appointed for the administration and

liquidation of assets of the estate on February 12, 2021. Meeting of creditors is pending to be

held on March 16, 2021. See docket nos. 82 and 84.

       2.      Creditor, Krizia Marie Perez Barber, is a domestic support claimant in the captioned

case, holder of two (2) pre-petition priority claims against the Debtor as per claim number 4 in the

amount of $64,118.89 filed on June 24, 2020 by ASUME and claim number 5 in the amount of

$9,156.02 filed on November 10, 2020 by Creditor.




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       3.      Schedule A/B filed by the Debtor under penalty of perjury, includes two (2) bank

accounts held under the name of Debtor at Banco Popular de Puerto Rico (“BPPR”) as of the time

of filing for relief, with balances of $746.80 and $156,480.16.

       4.      Upon Trustee’s investigation of Debtors financial affairs, it has been confirmed that

as of the time of the filing for relief, the Debtor held two bank accounts at BPPR as follows:

                   Property                                              Value
               a) BPPR account ending on 5189                        $746.80
               b) BPPR account ending on 7254                        $156,480.16

       5.      No exemption has been claimed by the Debtor pursuant to 11 U.S.C. §522(d) over

the BPPR account ending on 7254.

       6.      Section 541(a)(2) of the Bankruptcy Code provides for the creation of a bankruptcy

estate upon the commencement of a bankruptcy case which includes “all legal or equitable interests

of the debtor in property” and “all interests of the debtor and the debtor’s spouse in community

property as of the commencement of the case”. The Trustee is the sole representative of the

bankruptcy estate pursuant to 11 U.S.C. §323(a).

       7.      Funds in BPPR account ending on 7254 are property of the estate to be turned over

to the Trustee for payment to creditors, including payment to appearing Creditor.

       8.      Trustee and Creditor, thru their respective counsel of record, have held good faith

negotiations and have reached an agreement for the entry of order, pursuant to the terms and

conditions set forth herein:

               a.      The full amount of funds in bank account at Banco Popular de Puerto Rico
                       ending on 7254 are to be turned over to Trustee for administration as part
                       of the bankruptcy estate. Upon entry of order approving this Stipulation,
                       Banco Popular de Puerto Rico will deliver to Trustee the entire amount of
                       funds deposited in bank account ending on 7254 within five (5) business
                       days after the entry of order approving this Stipulation.

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b.   Trustee will pay in full priority claims numbers 4 and 5 as filed to the date
     of the filing of this agreement, before distribution to any other creditor in
     the captioned case.

c.   Nothing set forth in this Stipulation shall be construed or interpreted to limit
     Trustee’s authority, duties or obligations as provided in the Bankruptcy
     Code, including but without limitation to Trustee’s authority to investigate
     Debtor’s financial affairs, pursue actions, adversary proceedings or
     contested matters as need be, including the exercise of Trustee’s powers
     pursuant to Chapter 5 of the Bankruptcy Code.

d.   The terms of this Stipulation between Trustee and Creditor shall be final
     and binding upon the parties and will be binding upon any other judicial or
     extrajudicial proceeding, including any proceeding or action pending before
     the State Superior Court of Mayaguez between Creditor and Debtor,
     commenced prior to the filing for relief.

e.   The terms of this Stipulation shall not limit Creditor’s ability to pursue any
     claim against the Debtor for domestic support obligations or any further
     action to which she may be entitled after Trustee administers the bankruptcy
     estate in the captioned case.

f.   Creditor agrees to cooperate with Trustee in his administration of the
     bankruptcy estate and the investigation of Debtor’s financial affairs.

g.   Creditor acknowledges that with the signing of this Agreement there are no
     outstanding claims against the Trustee or the bankruptcy estate and will
     unconditionally and irrevocably release, remise, acquit and forever
     discharge the Trustee, the bankruptcy estate, attorney for Trustee and the
     United States Trustee, from any and all actions and causes of action,
     judgments, executions, suits, debts, liens, claims, demands, liabilities,
     obligations, damages and expenses of any and every character, direct and/or
     indirect, at law or in equity, of whatsoever kind or nature, for or because of
     any manner or things done, omitted or suffered to be done by Creditor from
     the Petition Date .

h.   By this Stipulation, each of the Parties submit to the jurisdiction of the
     United States Bankruptcy Court for the District of Puerto Rico for any
     action to enforce or interpretation of the terms of this Stipulation as agreed
     herein.




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       9.        This Stipulation constitutes the entire Agreement with respect to the subject matter

addressed herein and supersedes any prior written and/or verbal agreements between the Parties,

including any prior order or adjudication made in any state court case where Debtor and Creditor

may be a party. This Agreement may not be orally modified and may only be modified in writing

signed by all the Parties.

       10.     The Parties hereby represent and warrant that they are authorized and empowered

to appear and execute this Stipulation, and that it does not contravene any law, rule, regulation,

order, writ, judgment, injunction, decree, determination or any contractual restriction binding on

or affecting such party, or result in, or require, the creation or imposition of any mortgage, deed of

trust, pledge, lien, security interest or other charge, encumbrance or preferential arrangement of

any nature upon or with respect to the asset and the facts alleged in the complaint.

       11.     This Agreement shall not be modified, altered, amended or vacated without the

prior written consent of all Parties hereto. No statement made, or action taken in the negotiation of

this Agreement may be used by any party for any purpose whatsoever.

       12.     The Parties acknowledge that they have thoroughly reviewed this Agreement and

that they execute the same voluntarily and with full understanding of its contents, and that the

terms herein have been fully and unconditionally consented to by each of them, and that the Parties

had the full benefit and advice of counsel of their own selection, or the opportunity to obtain the

benefit and advice of counsel of his own selection, in regards to understanding the terms, meaning

and effect of this Stipulation and that this Stipulation has been entered into by each of the Parties

freely, voluntarily, with full knowledge of its consequences, and without duress, and that in

executing this Agreement, the Parties are relying on no other representations either written or oral,

express or implied, made to the Parties, and that the mutual consideration received by the appearing

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Parties is found to be actual, adequate, fair and equitable.

       13.     Trustee hereby submits that this Stipulation satisfies the “sound business reason

test” and is a proper exercise of the Trustee’s business judgment. This agreement is in the best

interest of the bankruptcy estate. The terms of the instant Stipulation are beneficial to the

bankruptcy estate as it will expedite the administration of assets of the bankruptcy estate for the

benefit of creditors and all other parties in interest. In re Bond, 16 F.3d 408, 30 C.B.C.2d 784 (4th

Cir. 1994); Comm. Of Equity Security Holders v. The Lionel Corp. (In re Lionel Corp.), 722 F.2d

1063 (2nd Cir. 1983).

       14.     Copy of this “Stipulation” has been sent to all creditors and parties in interest

appearing in the Master Address List. Pursuant to Rule 4001 of the Federal Rules of Bankruptcy

Procedure, it is respectfully requested from this Honorable Court that, should no objection to this

agreement be filed within twenty-one (21) days from notice of the same, an Order approving all

the terms and conditions above stated be entered.

       WHEREFORE, it is respectfully prayed that this Honorable Court grant this Stipulation

and enter order:

   a) approving the terms and conditions set forth in Stipulation;
   b) enter order directing Banco Popular de Puerto Rico to turnover to Trustee all funds in
      account ending on 7254 within a period of 5 days after entry of order approving the
      Stipulation.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico this 2nd day of March 2021.




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                                   NOTICE TO ALL PARTIES

Within twenty-one (21) days after service as evidenced by the certification, and an additional three
(3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against whom
this paper has been served, or any other party to the action who objects to the relief sought herein,
shall serve and file an objection or other appropriate response to this paper with the clerk’s office
of the United States Bankruptcy Court for the District of Puerto Rico. If no objection or other
response is filed within the time allowed herein, the paper will be deemed unopposed and may be
granted unless: (i) the requested relief is forbidden by law; (ii) the requested relief is against public
policy; or (iii) in the opinion of the Court, the interest of justice requires otherwise.


                                  CERTIFICATE OF SERVICE

        COUNSEL FOR TRUSTEE HEREBY CERTIFIES: That notice of this Stipulation has
been electronically provided by the CM/ECF system to all parties-in-interest, including all
creditors and the US Trustee at ustregion21.hr.ecf@usdoj.gov. Counsel further certifies that any
party non-participant of the Court’s CM/ECF system will receive notice via US regular mail to all
other interested parties as per the attached master address list and Banco Popular de Puerto Rico
to the following postal address: Banco Popular de Puerto Rico, PO Box 366818, San Juan, PR
00936.


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/s/ Noemi Landrau Rivera                                /s/ Damaris Quiñones Vargas
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Label Matrix for local noticing                      BANCO POPULAR PR                                     UNITED STATES TRUSTEE
0104-2                                               FORTUNO & RIVERA FONT LLC                            500 TANCA ST STE 301
Case 20-00633-EAG7                                   PO BOX 13786                                         SAN JUAN, PR 00901-1922
District of Puerto Rico                              SAN JUAN, PR 00908-3786
Ponce
Tue Mar 2 15:04:11 AST 2021
US Bankruptcy Court District of PR                   ASUME                                                ASUME-KRIZIAMARIE PEREZ BARBER
Jose V Toledo Fed Bldg & US Courthouse               P.O. BOX 70376                                       PO BOX 71316 SAN JUAN PR 00936-8416
300 Recinto Sur Street, Room 109                     San Juan, PR 00936-8376
San Juan, PR 00901-1964


BANCO POPULAR DE PUERTO RICO                         DEPARTMENT OF TREASURY                               DEPARTMENT OF TREASURY/BANKRUPTCY SEC.
P.O. BOX 362708                                      SECTION OF BANKRUPTCY 424-B                          P.O. BOX 9024140
San Juan, PR 00936-2708                              P.O. BOX 9024140                                     San Juan, PR 00902-4140
                                                     SAN JUAN P.R. 00902-4140


KRIZIA MARIE PEREZ BARBER                            LCDA EVELYN JANET GARCIA                             (p)PENTAGON FEDERAL CREDIT UNION
PUERTO REAL                                          APARTADO 1299                                        ATTN BANKRUPTCY DEPARTMENT
CALLE AZUCENA 321                                    Hormigueros, PR 00660-5299                           P O BOX 1432
Cabo Rojo, PR 00623-4901                                                                                  ALEXANDRIA VA 22313-1432


ALBERTO O LOZADA COLON                               ALEJANDRO OLIVERAS RIVERA                            EFRAIN CARRERO VELEZ
BUFETE LOZADA COLON                                  CHAPTER 13                                           PUERTO REAL 11A
PO BOX 430                                           PO BOX 9024062                                       CALLE 10
MAYAGUEZ, PR 00681-0430                              SAN JUAN, PR 00902-4062                              CABO ROJO, PR 00623


Kriziamarie Perez                                    MONSITA LECAROZ ARRIBAS                              NOEMI LANDRAU RIVERA
Azucena 321 Puerto Real                              OFFICE OF THE US TRUSTEE (UST)                       PO BOX 270219
Cabo Rojo, PR 00623                                  OCHOA BUILDING                                       SAN JUAN, PR 00928-3019
                                                     500 TANCA STREET SUITE 301
                                                     SAN JUAN, PR 00901

ROBERTO ROMAN VALENTIN
US TRUSTEES OFFICE
PO BOX 9024003
SAN JUAN, PR 00902-4003




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


PENTAGON FEDERAL CREDIT UNION
PO BOX 1432
Alexandria, VA 22313-2032




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
(d)Banco Popular de Puerto Rico   End of Label Matrix
PO Box 362708                     Mailable recipients   18
San Juan, PR 00936-2708           Bypassed recipients    1
                                  Total                 19
